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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

                                Judge Daniel D. Domenico


Case No.      20-cr-305-DDD                         Date:      February 5, 2024
Case Title:   United States v. Michael Tew et al.

              GOVERNMENT’S                                  WITNESS LIST
              (Plaintiff/Defendant)


                                                            ESTIMATED DATE(S) AND
WITNESS
                                                            LENGTH OF TESTIMONY

Ronald Brodfuehrer                                          Feb. 5 - 15 minutes

Jonathan Yioulos                                            Feb. 5-6 - 300 minutes

Hannah Scaife                                               Feb. 7 - 45 minutes

Raeesa Telly (nee Ibrahim)                                  Feb. 7 - 45 minutes

Abby Schwartz                                               Feb 7 - 120 minutes

Regions Bank Representative                                 Feb. 7 - 15 minutes

Navy Federal Credit Union                                   Feb. 7 - 15 minutes
Representative

Flagstar Bank / FIS Global                                  Feb. 7 - 15 minutes
Representative

Sarah Anderson                                              Feb. 7 - 30 minutes

PNC Bank Representative                                     Feb. 8 - 15 minutes

Michael Meyers                                              Feb. 8 - 30 minutes

Roman Hernandez                                             Feb. 8 - 30 minutes

Wells Fargo Representative                                  Feb. 8 - 15 minutes

ANB Bank Representative                                     Feb. 8 - 15 minutes

Lori Alf                                                    Feb. 8 - 30 minutes
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Chris Alf                                        Feb. 8 - 30 minutes

Matthew Morgan                                   Feb. 8 - 60 minutes

Nicholas Hanggi                                  Feb. 9 - 30 minutes

Matthew Vanderveer                               Feb. 9 - 30 minutes

Lisa Palmer                                      Feb. 9 & 12 - 180 minutes
